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                     EXHIBIT 34
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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


                                        )
STUDENTS FOR FAIR ADMISSIONS,           )
INC.,                                   )      Civil Action No. 1:14-cv-14176
                                        )
                      Plaintiff,        )
                                        )
     v.                                 )
                                        )
PRESIDENT AND FELLOWS OF                )
HARVARD COLLEGE (HARVARD                )
CORPORATION),                           )
                                        )
                      Defendant.




                    REPORT OF RUTH SIMMONS, Ph.D.

                                   December 15, 2017
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I. INTRODUCTION

       1. I have been retained by the President and Fellows of Harvard College (“Harvard”) to

provide an expert opinion in this matter. Based on my own experience as a professor and

administrator of institutions of higher education and in leadership roles with non-profit and for-

profit institutions, and my review of the materials cited herein, I conclude that the attainment of a

diverse (including a racially diverse) student body contributes to the depth of education afforded

students, enriches the campus environment, prepares students for engagement in a complex

world after their graduation, and benefits our society.

       A. Professional Experience and Qualifications

       2. I have spent more than forty years working in American higher education at

institutions across this country.    I have held several leadership roles, including at Brown

University, where I led the university for more than a decade as President; Smith College, where

I was President for six years; Princeton University, where I spent ten years in various roles in the

administration including Vice Provost and Associate Dean of the Faculty; and Spelman College,

where I was Provost. I have also been a professor at several universities. I am presently the

President of Prairie View A&M University in Prairie View, Texas.

       3. In addition to my leadership positions at institutions of higher education, I have served

on the boards of several major American and international companies, including Texas

Instruments, Pfizer, MetLife, Mondelez International, and Goldman Sachs. I currently serve on

the boards of Fiat Chrysler Automobiles and financial services and mobile payment company

Square, Inc.

       4. I have also held numerous leadership roles with several non-profit organizations in the

fields of education, the arts, and government. I have served as a Trustee of Princeton University,

the Carnegie Corporation of New York, Rice University, Dillard University, and Howard


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University. I am a member of the Museum Council of the Smithsonian’s National Museum of

African American History and Culture, and I am a fellow of the American Academy of Arts and

Sciences. I am also a member of the American Philosophical Society and the Council on

Foreign Relations.    I served on the President’s Commission on White House Fellowships

between 2009 and 2014. I presently chair the board of the Holdsworth Center, a non-profit entity

that provides training and leadership development to public school district administrators.

       5. I have received numerous honors throughout my career. I hold more than 40 honorary

degrees from academic institutions around the world, including the University of Oxford and

Harvard University. I have been named a “chevalier” in the French Legion of Honor. I have

served as a keynote speaker at the United Nations General Assembly, at the World Economic

Forum at Davos, at the Washington Ideas Forum, and before many other distinguished

audiences. I was named a Woman of the Year by CBS in 1996, by Ms. magazine in 2002, and

by Glamour magazine in 1996 and 2007. In 2001, I was named America’s “best college

president” by Time magazine.       I received a ROBIE Humanitarian Award from the Jackie

Robinson Foundation, the Ellis Island Medal of Honor, the American Foreign Policy Association

Medal, and many other awards.

       6. Based on my decades of experience leading institutions of higher education, I am

familiar with the benefits to universities and their students when those institutions have and value

diversity in their student bodies. Those benefits include both the quality of education that

students receive when they engage on campus with other students from varied backgrounds and

the way that a diverse student body prepares those students for life after college. In addition,

from my experience serving on the boards of major corporations and holding a variety of

positions in non-profit organizations, I understand how businesses, non-profit organizations, and



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government value and benefit from diversity in our increasingly pluralistic society, and also

value and benefit from students who have been exposed to and engaged with students from

varied backgrounds during their college experience.

       7. I have learned first-hand about the invaluable lessons students gain when interacting

with others who come from different backgrounds. My own experiences interacting with people

from different backgrounds have influenced me profoundly, just as those experiences have the

potential to influence college students today.

       8. Until I attended college, I had very little exposure to anyone from backgrounds

different from mine. I was born in the small town of Grapeland, Texas, in 1945, the youngest of

twelve siblings. My father was a sharecropper, and we lived as tenants on a former cotton

plantation with other African-American families. When I was seven years old, our family moved

to Houston, Texas, where my father worked in a factory and my mother worked as a maid. We

lived in the Fifth Ward, which was deeply segregated, and I attended segregated elementary,

middle, and high schools. I had no interactions with people of different racial, cultural, or

economic backgrounds in my childhood.

       9. In 1967, I earned a B.A. degree in French from Dillard University, a historically black

liberal arts college in New Orleans, Louisiana, graduating summa cum laude. It was during my

college years that I first had sustained, meaningful interactions with white people. I spent my

entire junior year at Wellesley College in Massachusetts. I also spent a summer studying

Spanish in Saltillo, Mexico, where I lived with a Mexican family. After graduating from college,

I spent a year studying at the Université de Lyon in France as a Fulbright Scholar.

       10. After college, I worked for the United States Department of State. I then earned a

master’s degree and doctorate in Romance Languages and Literatures from Harvard University.



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       11. While I attended graduate school at Harvard, I served as an undergraduate

admissions officer at Radcliffe College from 1970 to 1972.

       12. Following my doctorate, I began my career in academia, including several leadership

positions at institutions of higher education, where I was responsible for many aspects of the

student experience and the educational development of students. I first spent a decade at the

University of New Orleans, California State University – Northridge, and the University of

Southern California. Between 1979 and 1983, I served as Assistant Dean and then Associate

Dean of the Graduate School at the University of Southern California.

       13. In 1983, I joined the administration of Princeton University, and served in various

roles including Associate Dean of the Faculty. I left Princeton in 1990 to become Provost at

Spelman College, and returned to Princeton in 1992 to serve as Vice Provost, a position I held

for three years.

       14. In 1995, I was appointed the ninth President of Smith College. I was the first

African-American woman to run a major private college or university in this nation. I served as

President of Smith College for six years.

       15. In 2001, I was appointed the eighteenth President of Brown University, serving as

the first African-American president of an Ivy League university. I led Brown for more than a

decade before stepping down in 2012. At that time, I was named President Emerita of Brown

University. From 2012 to 2014, I was also a Professor of Comparative Literature and Africana

Studies at Brown.

       16. In 2017, I was named the Interim President, and then formally appointed as

President, of Prairie View A&M University, a historically black public university in Prairie

View, Texas.



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       17. Further details on my background and qualifications are set out in my curriculum

vitae, which is attached as Exhibit A to this report.

       B. Prior Expert Testimony

       18. I have never provided deposition and/or trial testimony as an expert in any litigation

or arbitration proceeding.

       C. Compensation

       19. For my work in connection with this litigation, I am being paid $500 per hour, as

well as reimbursement of any expenses. My compensation is in no way dependent on my

opinions rendered or the outcome of this litigation.

       D. Materials Considered

       20. In rendering the opinions and conclusions expressed in this report, I have considered

the materials set forth in Exhibit B, in addition to my own professional and personal experience

over the past several decades.

II. ASSIGNMENT

       21. I have been asked by Harvard to provide my opinion as to (1) the benefits to

students, universities, and our greater society that flow from the attainment of diversity in an

undergraduate student body; and (2) whether certain admissions practices at Harvard and other

selective institutions of higher learning should be changed or eliminated in order to further the

goal of obtaining a diverse student body.

       22. I reserve the right to supplement and modify this statement of my opinions in this

matter, including in response to additional opinions advanced by experts retained by Students for

Fair Admissions, Inc.




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III. DIVERSITY OF ALL KINDS, INCLUDING RACIAL DIVERSITY, ENRICHES INSTITUTIONS OF
HIGHER LEARNING AND BENEFITS SOCIETY

         23. It is my opinion based on my four decades of experience in leadership positions in

higher education, as well my as extensive service on the governing bodies of non-profit and for-

profit organizations, that a student body that is diverse in many ways—including racially

diverse—enriches our institutions of higher learning and provides benefits to students that

influence them long after graduation. I have seen and experienced these benefits in my own

career at various colleges and universities, and in my work for a variety of corporations and

organizations.

         24. Diverse institutions of higher education are essential in today’s society. American

institutions of higher learning, including Harvard, aim to educate leaders who will be valuable

contributors to our institutions and communities and citizens who will enhance and exemplify

the ideals of the democratic way of life in America.           Indeed, Harvard College’s mission

statement begins by stating that “The mission of Harvard College is to educate the citizens and

citizen-leaders for our society.” Harvard College, Mission.1

         25. Harvard’s mission statement also states that Harvard seeks to achieve its mission

through “the transformative power” of a liberal arts education. Based on my experience and

observation over decades in higher education, I can confidently say that diversity is central to

“the transformative power” of education on college campuses like Harvard’s. Interactions with

diverse peers challenge students’ pre-existing assumptions, teach students about the importance

of different perspectives and lived experiences, and help students learn to communicate across

differences.     As Harvard states, its “undergraduate curriculum is deliberately shaped to



1
    Available at: https://college.harvard.edu/about/mission-and-vision.


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encourage exposure to ‘new ideas, new ways of understanding, and new ways of knowing.’”

2016 Report of the Committee to Study the Importance of Student Body Diversity, chaired by

Dean of Harvard College Rakesh Khurana (“Khurana Report”) (Exhibit C) at HARV00008054.

       26. A persisting reality is that many of our nation’s high school students do not

meaningfully interact with people who reflect the diversity of backgrounds, opinions, and lived

experiences representative of the complex richness of our nation and world. In fact, many high

school students attend schools and live in communities that are relatively homogeneous. Orfield

et al., E Pluribus… Separation: Deepening Double Segregation for More Students, The Civil

Rights Project (Oct. 2012).2 This lack of experience with different types of people is a leading

reason that students on college campuses often hear (and complain about) hurtful comments

from peers regarding their background or appearance. Students who lack previous experience

interacting with people from different backgrounds often lack the perspective and skill required

to communicate effectively across significant differences. They make uninformed or hurtful

comments, often without intending to do so. In many cases, attending college—especially a

college with a richly diverse student body—helps students acquire the perspective and skill

required to interact with people vastly different from themselves.

       27. College is, for many students, one of the first times that they will live, eat, study, and

socialize in close quarters with people whose lived experience differs vastly from their own. Just

as exposure to new ideas from learned faculty is central to the college experience, so too is the

experience of interacting with and learning from different types of people. Public statements by




2
  Available at: https://www.civilrightsproject.ucla.edu/research/k-12-education/integration-and-
diversity/mlk-national/e-pluribus...separation-deepening-double-segregation-for-more-
students/orfield_epluribus_revised_omplete_2012.pdf.


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Harvard’s leaders are consistent with my experience. For example, as Harvard’s President Drew

Faust explained in 2015, “for many if not most of those arriving at Harvard for the first time, this

is the most varied community in which they have ever lived—perhaps ever will live. People of

different races, religions, ethnicities, nationalities, political views, gender identities, sexual

orientations.   We celebrate these differences as an integral part of everyone’s education.”

President Drew Faust, 2015 Remarks at Morning Prayers (Sept. 2, 2015).3 Likewise, Harvard

has explained that by putting people with different ideas and experiences “on the other side of

the seminar table—and in one’s own dormitory rooms and dining halls—we ensure that our

students truly engage with other people’s experiences and points of view, that they truly develop

their powers of empathy.” Khurana Report at HARV00008052.

         28. Diversity of all kinds, including racial diversity, is essential to students’ higher

education experience and the pedagogical goals of Harvard and other institutions. It provides all

students with a rich and rewarding educational experience. In interacting with each other both

inside and outside the classroom, students who come from diverse backgrounds and experiences

challenge ideas, preconceptions, and stereotypes. That interaction and learning occurs both

formally in the classroom and informally—in dormitories and dining halls, through participation

in campus organizations and sports, and through the myriad other encounters that occur when

students share the same campus for years. As Harvard College’s mission explains: “Beginning

in the classroom with exposure to new ideas, new ways of understanding, and new ways of

knowing, students embark on a journey of intellectual transformation. Through a diverse living

environment, where students live with people who are studying different topics, who come from




3
    Available at: https://www.harvard.edu/president/speech/2015/2015-remarks-morning-prayers.


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different walks of life and have evolving identities, intellectual transformation is deepened and

conditions for social transformation are created.” Harvard College, Mission.

       29. My experience has led me to understand the many ways in which diversity

contributes to classroom learning. Faculty and students are exposed to new ideas, different

perspectives and ways of thinking, and new subjects of academic inquiry that would not exist in

a monocultural institution. In posing different questions, students and faculty invariably find

different answers.      Cultural institutions within the university produce more innovative and

exciting material.   All of this makes diverse universities more dynamic, vibrant places of

learning and inquiry.

       30. Outside the classroom, students’ interactions with others who have had different

lived experiences enrich a campus community with energy and constant discovery. Whether it is

learning how to live and share space with a roommate from a completely different walk of life,

discussions over meals at the dining hall, or expressing a shared interest or talent on the stage or

on the field, a campus and its students thrive when people learn to come together so that they

may learn from each other.

       31. As students of different backgrounds interact on campus, they often recognize

unexpected similarities and shared interests, forging relationships across all sorts of differences.

As these relationships and interactions become more frequent and deepen, students make

unexpected discoveries about themselves, others, and the world.         These interactions across

difference can break down stereotypes that are based on assumptions, rather than information.

       32. Uncomfortable interactions on the basis of differences rather than similarities can

also be influential and valuable.      I often tell my students that learning about—and being

confronted with—someone else’s lived experience, insights, and opinions can change not only



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what you think, but how you think. For example, I was profoundly affected as an undergraduate

student by a discussion of South African apartheid in a philosophy class at Wellesley College.

My strongly felt opposition to apartheid was influenced by my experience as a black woman

growing up and going to school in a segregated system in Texas. As the teacher sought student

input, many other students expressed views similar to mine. Then, a white classmate revealed

that she was South African and proceeded to talk about her own experience with apartheid. She

offered an explanation and defense of apartheid that I disagreed with vehemently. I found

remarkable not only how people could see social and cultural phenomena and political

environments in such different ways, but also how they could rely on those views to justify

vastly different beliefs and choices. It was a formative moment that caused me to think about the

value of being able to talk to someone with an immensely different background and worldview, a

value that I have carried with me since. I began to see that encountering someone from a

different background or perspective with whom I sharply disagree is not counter-productive.

Learning to do so with equanimity is a bed-rock need in a diverse nation. It is important to see

different perspectives, test one’s thoughts, and thereby apprehend the complex variety of

experiences that shape individual and group views in our nation.

       33. Another example of this type of uncomfortable interaction across difference occurred

when the writer David Horowitz planned to speak at Brown while I was President. Horowitz had

engendered substantial controversy on campus by expressing provocative—and in my view, very

offensive and entirely wrong—thoughts about the impact of slavery. My response was to attend

Horowitz’s speech. I hoped to encourage students to attend, to listen, and to question Horowitz

so they could get a perspective on this complex person with misguided, but sincerely held, views.

I doubted that many students would be persuaded by Horowitz’s talk, but I thought—and



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continue to think—that it is essential to hear speech from those with different viewpoints,

including provocative speech.      That can lead to the crystallization or sharpening of an

individual’s perspective, to productive and enlightening discussion about the provocative speech,

and to greater awareness of the world’s complexity.

       34. As it was for me in this instance, students’ interactions with people different from

themselves are often more memorable and instructive than engaging with people who have

similar backgrounds and are like-minded. Although learning about the experiences and views of

others in lecture halls and books has great value, nothing can fully substitute for the impact of

personal interaction and observation. My experience as an administrator confirms that alumni

invariably think back on formative relationships, conversations, and interactions with fellow

students and professors that shaped their views and lives. Based on my innumerable interactions

with alumni of many different institutions, I am aware that when alumni reflect on the

experiences that most profoundly affected them or shaped their lives, it is rarely a book or lecture

that they reference. Rather, alumni most frequently remember and talk about eye-opening

experiences, conversations, or friendships with fellow students or mentors.

       35. The benefits that students receive from being part of a diverse student body does not

stop when they graduate. Quite the contrary: The rich experiences that students receive as

undergraduates prepare them for working in a complex nation and world and shape their outlook

as they take their place as engaged citizens and leaders in our society. Indeed, a crucial task that

our universities face today is one that our leading institutions have faced throughout history:

providing students with the knowledge and skills to be actively engaged citizens who will define

the principles of the nation and to lead its diverse and important institutions and communities.

Our nation’s founders recognized that leaders would require education and experience for the



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nation to be successful. John Adams questioned whether our nascent country had sufficient

leaders “fit for the times” and worried that the country’s leaders were “deficient in genius,

education, in travel, fortune—in everything.” McCullough, John Adams, 23 (2001).

       36. Based on my experience, leading universities must play a central role in producing

leaders “fit for the times”—and universities like Harvard consistently and rightly embrace that

mission. Few other institutions are as capable of doing so. Harvard has rightly recognized

that—in order to produce such leaders, and to fulfill its mission of educating “the citizens and

citizen-leaders for our society”—diversity must play a central role in the college experience.

Universities like Harvard recognize that our strength comes from breadth and openness, and that

when we retreat to enclaves of thought or bias, we will fall short of achieving the highest

possibilities for the union. Successful citizens and citizen-leaders must be aware of the complex

richness of humanity and they must have the skills required to reach across differences and

stereotypes to communicate with others and engage the world around them.

       37. Regardless of race, the leaders of our nation’s communities and institutions must be

able to lead conversations and work with people vastly different from themselves in terms of

background and opinion. That is not an innate skill; it must be learned, honed, and practiced.

Our institutions of higher education can and must play a central role in preserving and enhancing

this skill. Indeed, universities are already recognized as leaders in this area, which is why I and

other university leaders speak to a broad spectrum of groups about how to achieve this goal.

       38. Based on my experience in leadership at American universities, sitting on the boards

of directors of numerous publicly-traded corporations, and serving as a director and leader for a

variety of non-profit institutions, I am aware that it is essential that institutions of all kinds have

diverse leadership. Institutions in all fields—whether for-profit, non-profit, or governmental—



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make better decisions and produce better outcomes when they have diverse leaders and

members.

       39. My experiences on the board of directors for major multinational corporations,

including Pfizer, Fiat Chrysler, Mondelez, and many other companies confirm the importance of

diversity and the ability to interact across differences in business leadership. Our leading

businesses understand that diverse organizations make better decisions and achieve greater

success. Accordingly, they focus considerable resources on recruiting and retaining a diverse

workforce, management team, and board. For example, Intel recently announced a substantial

investment designed to diversify its workforce and Pepsi CEO Indra Nooyi described

diversifying the workforce as “a business imperative.” 4        Particularly in the crucial area of

corporate leadership, it is essential to the future of the American economy that our top

universities produce graduates who are prepared to take on leadership roles in diverse

organizations that serve diverse populations. If universities falter in preparing students for these

roles, leading institutions will not have the expertise to accomplish these goals.

       40. My experience as a director and leader for various non-profit entities (aside from

colleges and universities) and programs, including the National Museum of African American

History and Culture, the Houston Museum of Fine Arts, and the Holdsworth Center, likewise

confirms the importance of diversity and the ability to communicate across difference in the non-

profit sector. Non-profit organizations, of course, define their missions in many different ways.




4
 Wingfield, “Intel Allocates $300 Million for Workplace Diversity,” N.Y. Times (Jan. 6, 2015),
available at: https://www.nytimes.com/2015/01/07/technology/intel-budgets-300-million-for-
diversity.html; Clifford, “PepsiCo CEO: Hiring more women and people of color is a ‘business
imperative,’” CNBC (Oct. 17, 2016), available at: https://www.cnbc.com/2016/10/17/pepsico-
ceo-hiring-more-women-and-people-of-color-is-a-business-imperative.html.


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Many non-profits have broad missions, diverse membership, and face the challenge of being

responsive to diverse communities. Even in non-profits with less diverse membership and

leadership, it is essential that leaders understand how to respond to and engage with our diverse

society.

       41. Ultimately, Harvard’s institutional judgment that diversity is essential to its mission

and pedagogical goals is consistent with my observations after a career in higher education that

campus diversity yields a variety of important benefits for students and for our society.

IV. GIVEN HARVARD’S IMPORTANT GOALS IN ASSEMBLING AN OUTSTANDING AND DIVERSE
STUDENT BODY, IT APPROPRIATELY CONSIDERS STUDENTS’ BACKGROUNDS AND
EXPERIENCES, NOT JUST THEIR ACADEMIC ACHIEVEMENTS, IN ITS ADMISSIONS DECISIONS

       42. As noted above, Harvard and other colleges and universities view their educational

mission not just as providing an excellent classroom learning experience—although that is

undoubtedly important—but also in terms of preparing students to contribute to a diverse nation

and world. They encourage rewarding and stimulating interactions among students that teach

valuable lessons and prepare students for participation in democratic society and for leadership

of all manner of institutions.     Harvard and other highly-selective institutions have long

recognized that academic achievement and academic potential should play an important role in

the admissions process. The educational environment at Harvard is strengthened when smart,

inquisitive students are deeply engaged in the classroom, in discussions with fellow students, and

in all manner of independent projects and research. We all benefit from educated, thoughtful

citizens and leaders who are continually engaged and motivated to learn and share their insights.

Yet highly selective institutions of higher education like Harvard rightly consider more than a

student’s academic achievement and academic potential in deciding whom to admit.




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          43. In assembling the student body, highly selective universities like Harvard will have

far more applicants who are capable of academic success than they will have places for

admission. For the Class of 2021, more than 39,000 students applied to Harvard, around 2,000

applicants were admitted, and roughly 1,700 students enrolled. Admissions Statistics, Harvard

College.5 In such a competitive field, Harvard will face choices among thousands of applicants

with similarly strong academic qualifications.

          44. Based on my experience, it is my opinion that, when selecting among those students,

universities benefit when they fill their classes with students who have diverse backgrounds and

perspectives, and students who are ready and willing to engage with others. This includes

students who have taken advantage of any opportunities available to them to reach beyond their

own interests to learn about and work with the other people, subjects, and environments that

surround them. While the range of opportunities available to each student will vary widely, a

careful admissions process should be able to identify students who have maximized

opportunities, demonstrated a desire to expand horizons, shown the ability to connect with

others, and had experiences that will contribute to the richness of the university community.

          45. The goal of highly selective colleges like Harvard is not to assemble the class with

the highest possible average GPA; it is to assemble a vibrant, diverse community on campus

where students are able to thrive individually and learn from their peers, instead of retreating into

sequestered groups formed around similarity or routine and familiar ways of thinking. Full

participation in such an environment provides the most enriching educational experience




5
    Available at: https://college.harvard.edu/admissions/admissions-statistics.


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possible, and prepares graduates for success and leadership in numerous fields of endeavor and

communities.

       46. In my work as a Commissioner on the Commission on White House Fellowships and

as Chair of the Northeast Region Selection Committee for the Rhodes Scholarship, I helped

select some of our nation’s most talented and promising young leaders for prestigious programs

that would provide them with additional knowledge, experience, and skills. We sought people

with outstanding academic credentials, of course. But there were always more people with

impressive intelligence and academic credentials than there were spots available. We sought to

identify people from a variety of different backgrounds and with interest and experience in

different disciplines whose interviews, resumes, essays, recommendations, and other application

materials suggested that they had already and would continue to contribute to their communities

as thoughtful, engaged leaders, bringing fresh ideas and different perspectives to the world’s

problems.

V. HARVARD HAS DISPLAYED A CONSIDERABLE COMMITMENT TO UNLOCKING THE
BENEFITS OF DIVERSITY

       47. I understand that universities are sometimes criticized for admitting a diverse class

and then doing little to secure the benefits of diversity once students arrive on campus. If true,

that would be a valid criticism. But based on my understanding of Harvard’s approach to

undergraduate education and a variety of different policies, the criticism is not valid with respect

to Harvard. To the contrary, Harvard has recognized that it is not enough simply to admit a

diverse class and hope that students will find opportunities to engage with each other; rather, it

has taken concrete steps to make sure that engagement occurs.

       48. Harvard stands out among American colleges in that 97 percent of its students live

on campus for the entire time they attend. Khurana Report at HARV00008059. Rather than


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allowing students to choose their on-campus or off-campus housing, the vast majority of

Harvard’s students live together in freshman dormitories assigned by Harvard and then in one of

Harvard’s twelve residential Houses, for which assignments are random.

       a.     Freshman housing is carefully assigned by the Freshman Dean’s office to ensure

              that the dorms reflect the diversity of talents and backgrounds in the incoming

              class.   Khurana Report at HARV00008059.          It is through this process that

              Facebook founder Mark Zuckerberg ended up sharing a freshman dorm room

              with Haitian Olympic triple jumper Samyr Lainé. Id. at HARV00008060.

       b.     After freshman year, students are randomly assigned to a residential House for the

              three remaining years (though they may elect to be assigned within a block of up

              to eight students). Each House has its own dining facility and hosts a wide variety

              of social, cultural, and educational events throughout the academic year.

       c.     In the 1990s, Harvard made a considered—and, at the time, controversial—choice

              to assign students to Houses randomly in order to ensure that its Houses reflected

              the diversity of the campus community. Id. at HARV0000860-0000861. The

              random assignment policy ensures that students are given the opportunity to

              interact across difference throughout their time on campus. Such a decision

              underscores the commitment of the university to the benefits of diversity.

       49. Extracurricular and athletic activities at Harvard also reflect and enhance the

diversity of the Harvard community.

       a.     On Harvard’s athletic teams, students of all backgrounds spend countless hours

              together, focused on achieving a common goal. Id. at HARV0000862. The




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                 athletic teams also bring the university community together at games and

                 competitions throughout the school year.

          b.     Harvard’s extracurricular activities are varied and numerous, again reflecting the

                 diverse talents, passions, and interests of its students. Students of all backgrounds

                 are brought together through shared interests in religion, music, technology,

                 debate, journalism, drama, and countless other areas, and these groups enable

                 students of all backgrounds to develop and share their talents and interests with

                 the broader campus community. Harvard College, Admissions & Financial Aid,

                 Student Activities.6   As students meet their classmates in these less formal

                 environments, they may learn that “there is no substitute for lived experience to

                 inform a person’s point of view, or for direct contact with people to understand

                 their perspectives.” Khurana Report at HARV00008061.

          c.     Harvard sponsors more than 50 cultural, ethnic, and international organizations

                 that enable students to explore and share their cultures with students of similar

                 backgrounds and with the broader community. Harvard College, Admissions &

                 Financial Aid, Student Activities. Harvard’s sponsorship of these groups also

                 reflects the university’s recognition of the diversity—and the value of that

                 diversity—within its ranks.

          50. In my experience, universities are far more successful in unlocking the benefits of

diversity when they have faculty and staff members who are committed to that goal. The

existence of positions supporting diversity demonstrates to all community members that the




6
    Available at: https://college.harvard.edu/admissions/choosing-harvard/student-activities.


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university cares about diversity, and the work of those employees encourages the type of

interaction across difference that yields important benefits.          Harvard has displayed its

commitment to unlocking the benefits of diversity through hiring and other initiatives. For

example, Harvard’s Office for Equity, Diversity, and Inclusion and the Harvard Foundation have

multiple staff members who are devoted to ensuring that Harvard’s diversity is enhanced and that

students can have the meaningful interactions that advance the university’s goals.

       51. Harvard has also committed substantial institutional resources to understanding the

role that diversity plays on campus and how it may be improved. Harvard College convened a

Working Group on Diversity and Inclusion in 2014 that sought to “assess Harvard College’s

learning environment in order to ensure that all students benefit equally from its liberal arts

educational and service mission.” Report of the College Working Group on Diversity and

Inclusion, Harvard University (Nov. 2015), at 7.7 In 2016, Harvard President Drew Faust

convened a Presidential Task Force on Inclusion and Belonging charged with “making sure that

Harvard continues to attract the most talented people from all walks of life and creates an

environment where we can be our best selves.” Charge, Presidential Task Force on Inclusion

and Belonging, Harvard University (2016).8

       52. Building a thriving, diverse community is an ongoing process—there are and will be

tough conversations and conflicts along the way, as there have been at Harvard. But it is too

simplistic to dismiss the real educational benefits of a diverse college community by pointing to

the existence of conflicts on campus. Rather, when students show they do not yet understand




7
  Available at: http://diversity.college.harvard.edu/files/collegediversity/files/diversity_and
_inclusion_working_group_final_report_2.pdf.
8
  Available at: https://inclusionandbelongingtaskforce.harvard.edu/task-force-charge.


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how to respond to people with sharply different perspectives, backgrounds, and experiences, that

is an opportunity for universities to help them learn.        Harvard has displayed a genuine

commitment to ensuring that it is a community where everyone can share opinions and

experiences, ask tough questions, and collectively search for greater knowledge and

understanding. This is seen in the recent Working Group on Diversity and Inclusion and the

Presidential Task Force on Inclusion and Belonging. It is seen repeatedly in the statements of

Harvard’s leaders. And it is seen in the faculty’s recommitment to the centrality of diversity to

Harvard’s liberal arts education.

       53. The existence of and open discussion of conflicts, and the way that Harvard has

addressed them, reveal a university that is committed to its diversity goals and its broader

mission.   Harvard has recognized that there is no simple policy that will maximize the

educational value of diversity; rather, it is an ongoing process that requires constant thought and

attention. Harvard has shown itself to be committed to that project.

VI. VARIOUS ADMISSIONS PRACTICES THAT HAVE BEEN CRITICIZED SERVE IMPORTANT
AND LEGITIMATE UNIVERSITY INTERESTS

       54. I am aware that there are criticisms of some admissions practices used by Harvard

and many other colleges and universities that allegedly inhibit the effort to ensure diversity on

campus.     Harvard and many other universities face criticism for considering athletic

achievement, legacy status, and whether an applicant is the child of university faculty or staff.

They also face criticism for maintaining early action admission policies.           Based on my

experience, all of these considerations and policies—which are common at universities across

the United States—bring about important, legitimate benefits.

       55. There would be substantial costs if Harvard were to stop considering whether

applicants are the children of alumni. In my experience, universities are stronger and more


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successful when they have strong networks of loyal alumni who continue to view themselves as

members of the university community long after graduation. Universities do not want graduates

to simply think of themselves as passing through campus for a few years. Private universities, in

particular, depend on the continued engagement and participation of their alumni in recruiting

and interviewing candidates, fundraising, networking for recent graduates, participating in local

alumni groups, and countless other activities. Paying attention to legacy status in admissions can

play an important role in maintaining alumni allegiance and interest. Alumni remain engaged

with their alma mater for many reasons, but based on my experience with alumni of many

institutions of higher education, I can say that one reason they do so is that some alumni have an

interest in having their children attend their alma mater and think their children will have a real

opportunity to attend. I do not believe this impulse is pernicious; it is based on genuine ties of

affection that alumni have with their alma mater. As long as the applicants admitted under such

policies are genuinely qualified at the high level universities expect of all their students, and as

long as the applicants can be reasonably expected to make substantial contributions to the

university community in their own right, there are good policy-based reasons for universities to

consider whether applicants are the children of alumni.

       56. Based on my experience at a variety of different universities, there are also strong

reasons for universities to consider whether an applicant’s parents work at the university to

which an applicant has applied.    In my experience, this type of policy typically affects only a

small number of applications in any given year. That is, eliminating consideration given to the

children of faculty and staff would be unlikely to yield any meaningful benefit to campus

diversity while it would threaten to impose substantial costs in terms of faculty and staff morale.

Universities are made stronger when their employees are engaged, happy, and fully invested in



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the success of the institution. Moreover, the market for top faculty, staff, and administrators is

quite competitive. Giving consideration to the children of employees can be important to

retaining the people who work so hard to make our universities great, and it can deepen their

loyalty to the university. As long as the applicants admitted under such policies are qualified

academically and otherwise, and as long as they will bring to the campus the willingness to

engage broadly that universities expect of all students, there are good policy-based reasons for

universities to afford consideration to the small number of applicants who fall into this category.

       57. Based on my many decades of experience in higher education, it is also clear to me

that athletics plays an important role on college campuses in the United States.           Athletic

competition is a deeply engrained part of the history and traditions at many of our nation’s finest

institutions of higher education, including Harvard. University sports bring students together and

bring alumni back to campus throughout the year. The unique contributions that athletes make to

the campus community, combined with the talent and dedication demonstrated by athletes good

enough to be recruited, are legitimate reasons to consider athletic talent in admissions decisions,

so long as those admitted on that basis are also capable of succeeding academically and

contributing to the campus community in other ways.

       58. It is my opinion that eliminating early action admissions would have substantial costs

for a university like Harvard. Early action gives students an opportunity to demonstrate their

considered interest in a particular university, which is important information to have in the

admissions process.    In addition, early action is very important in recruiting some of the

strongest students. In my opinion, and based on my experience at Brown when the elimination

of early action was considered, any potential benefits from eliminating early action would

outweigh the potential costs of losing out on some of our most talented students. While I am



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aware of the suggestion that early action programs may unfairly advantage certain applicants,

this is an issue that universities may address by ensuring that information about admissions

policies is well publicized, and through admissions decisions themselves.




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                   EXHIBIT A
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                                    RUTH J. SIMMONS

                   PRESIDENT, PRAIRIE VIEW A&M UNIVERSITY


OFFICE ADDRESS               Ruth J. Simmons
                             President, Prairie View A&M University
                             P.O. Box 519; MS 1001
                             Alvin I. Thomas Bldg.
                             Suite 202
                             Prairie View, TX 77446


EMPLOYMENT HISTORY

       PRAIRIE VIEW A&M UNIVERSITY, President, 2017 -

       BROWN UNIVERSITY, President Emerita, 2014 - present

       BROWN UNIVERSITY, President Emerita and Professor of Comparative Literature,
2012 - 2014

       BROWN UNIVERSITY, President and Professor of Comparative Literature and
Africana Studies, 2001 - 2012

       SMITH COLLEGE, President Emerita, July 2001 - present

       SMITH COLLEGE, President, July 1995 - June 2001

       PRINCETON UNIVERSITY, Vice Provost, January 1992 - July 1995

       SPELMAN COLLEGE, Provost, January 1990 - December 1991

        PRINCETON UNIVERSITY, Associate Dean of the Faculty, 1986-1990; Assistant Dean
of the Faculty, 1986-87; Acting Director, Afro-American Studies, 1985-87; Director of Studies,
Butler College, 1983-85

      UNIVERSITY OF SOUTHERN CALIFORNIA, Associate Dean of the Graduate School,
1982-83; Assistant Dean of the Graduate School, 1979-82

      CALIFORNIA STATE UNIVERSITY- NORTHRIDGE, Acting Director of International
Programs and Visiting Associate Professor of Pan-African Studies, 1978-79; Administrative
Coordinator, NEH Liberal Studies Project, 1977-78

      UNIVERSITY OF NEW ORLEANS, Assistant Dean of the College of Liberal Arts
1975-76; Assistant Professor of French, 1973-76




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RUTH J. SIMMONS


      RADCLIFFE COLLEGE, Admissions Officer (part-time while a graduate student),
1970-72

       GEORGE WASHINGTON UNIVERSITY, Instructor in French (while enrolled as a
graduate student), 1968-69

      LANGUAGE SERVICES DIVISION - U.S. DEPARTMENT OF STATE, Interpreter,
1968-69


EDUCATION

      Ph.D.; A.M.          Harvard University                     1973; 1970
                           Romance Languages and Literatures
                           George Washington University           1968-69

                           Université de Lyon                     1967-68

      B.A.                 Dillard University                     1967
                           Wellesley College (visiting junior)    1965-66
                           Universidad Internacional, Saltillo    Summer, 1965

SELECTED ACADEMIC AWARDS AND HONORS

      -Visiting Fellow, London School of Economics, June 2015
      -Over Forty Honorary Degrees, including the following:
              University of Oxford, 2015
              Georgia Institute of Technology, 2013
              Brown University, 2012
              University of Oklahoma, 2012
              Mt. Sinai School of Medicine, 2012
              The American College of Greece, 2008
              Morehouse College, 2006
              Spelman College, 2007
              University of Toronto, 2004
              Jewish Theological Seminary,
              Ewha Women’s University, Korea, 2002
              Harvard University, 2002
              Columbia University, 2002
              NYU, 2001
              University of Pennsylvania, 2001
              Dartmouth College, 1997
              Princeton University, 1996
              Dillard University, 1996
              Howard University, 1996



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RUTH J. SIMMONS



AWARDS/HONORS

      -Named a ‘chevalier’ in the French Legion of Honor. May 2013
      -Susan Colver Rosenberger Medal, Brown University, May 2011
      -Keynote Speaker, United Nations General Assembly, Special Commemorative Meeting,
March 2011
      -American Foreign Policy Association Medal, May 2010
      -Ellis Island Medal of Honor, May 2010
      -BET Honors Award, January 16, 2010
      -A Glamour magazine Woman of the Year, 2007
      -Named one of U.S. News & World Report’s top U. S. leaders, 2007
      -President’s Medal, Emory University, 2006
      -Eleanor Roosevelt Val-Kill Medal, 2004
      -Chairman’s Award, Congressional Black Caucus Foundation, 2004
      -ROBIE Humanitarian Award, the Jackie Robinson Foundation, 2004
      -Ms. Magazine Woman of the Year, 2002
      -Drum Major for Justice Award, SCLC/W.O.M.E.N. Inc., 2002
      -Fulbright Lifetime Achievement Medal, 2002
      -Named America’s “best college president” by Time magazine, 2001
      -President’s Award, United Negro College Fund, March 2001
      -Teachers College Medal for Distinguished Service, Columbia University, 1999
      -National Urban League Achievement Award, November 1998
      -Centennial Medal, Harvard Graduate School of Arts and Sciences, 1997
      -A Glamour Magazine Woman of the Year, 1996
      -An NBC Nightly News Most Inspiring Woman, August 1996
      -A CBS Woman of the Year, January 1996
      -Fulbright Scholar, Université de Lyon, France, 1967-68
      -Danforth Fellow, 1967-73
      -Summa cum laude, Dillard University, 1967



MEMBERSHIPS IN HONORARY SOCIETIES

      -chevalier, French Legion of Honor
      -Alfalfa Club, Washington, D.C.
      -Council on Foreign Relations
      -American Academy of Arts and Sciences
      -American Philosophical Society
      -Phi Beta Kappa
      -Massachusetts Historical Society




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RUTH J. SIMMONS


SELECTED PUBLICATIONS / PAPERS


        Introduction, Slavery and the University: Histories and Legacies,
(University of Georgia Press, 2018 Forthcoming)
        “America’s Relationship with the World: How Can Languages Help?” The French
Review, March 2004, pp. 682-689
        Foreword, Meridians: (Inaugural Issue), Autumn 2000
        “My Mother’s Daughter: Lessons I Learned in Civility and Authenticity”
Texas Journal of Ideas, History and Culture, Fall/Winter 1998
        “Passion, Generosity, and the Academy.” Meridians, Volume 3 Number 1, pp. 42-49
        “Recognizing Moments of Learning.” In True to Ourselves, edited by Nancy Neuman,
Jossey-Bass Inc., 1998, pp.16-23
        Preface, Professorial Passions, Smith College, 1997
        Haiti, A Study of the Educational System and Guide to U.S. Placement, World Education
Series, AACRAO, 1985
        “Aime Cesaire: Colonialism and the Poetics of Authenticity.” College Language
Association Journal, 73 (March 1976), pp. 382-88
        “La Poesie de David Diop.” Presence Africaine, N.S.F., 73 (3e trimestre, 1970),
pp. 91-96



SELECTED MEDIA FEATURES / PUBLISHED INTERVIEWS

       Today Show appearance with Meredith Vieira regarding Newsweek’s special issue on
Women and Leadership, September 19, 2006
       “Lessons We Have Learned”, Newsweek Magazine interview on Women and Leadership,
September 2006
       “Doing It Right Matters,” as told to Glenn Rifkin in the Boss Column, New York Times,
February 5, 2006
       “Peculiar Institutions: Brown University looks at the slave traders in its past,” by Frances
Fitzgerald, The New Yorker, September 12, 2005, pp. 68-77
        “Head of the Class,” by Katy Vine, Texas Monthly, February 2003, pp. 60-63
        “The Helping Hand,” by Wallace Terry, Parade Magazine, December 22, 2002, pp. 4-5
          The Right Words at the Right Time, edited by Marlo Thomas, Atria Press, 2002,
        pp. 314-316
       Talking Leadership: Conversations with Powerful Women, edited by Mary Hartman,
Rutgers University Press, 1999, pp. 237-255
       Singular Voices: Conversations with Americans Who Make a Difference, Barbaralee
Diamonstein, Harry N. Abrams, Inc., 1997, pp. 111-125




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RUTH J. SIMMONS


PAPERS / PRESENTATIONS

     Selected Invited Lectures/Keynotes:
            -Princeton University Wilson College, 2015
            -Stanford University School of Medicine, May 2015
            -London School of Economics Public Affairs Institute, 2015
            -DeLange Conference, Rice University, 2014
            -World Economic Forum at Davos, 2012 and 2002
            -Brookings Institution Taubman Forum, 2010
            -Washington Ideas Forum, 2009
            -California Conference on Women, 2009
            -California Institute of Technology, 2009
            -Economic Club of Washington. 2008
            -University of Guadalajara, 2007
            -Cambridge University, 2007
            -Chatauqua Institution, 2006
            -Columbia University, 2007
            -Temple Emanu-el Nasher Forum, Dallas, 2005
            -International Institute of Madrid, 2005
            -Harvard University Phi Beta Kappa Oration, 2003
            -Harvard Medical School, 2003
            -University of Notre Dame Faculty Convocation, 2003
            -White House Millennium Evening, 1999
            -Joint Session, Massachusetts Legislature, 1998
            -92nd Street Y, 1997
            -MIT Sloan School, 1997


     Selected Commencement Addresses:
            -DePauw, 2015
            -LBJ School, University of Texas, 2015
            -Smith College, 2014
            -University of Oklahoma, 2012
            -University of Rochester, 2012
            -Mt. Sinai School of Medicine, 2012
            -American College of Greece, 2008
            -Morehouse College, 2006
            -Miami Dade College, 2006
            -University of Vermont, 2005
            -University of Toronto, 2004
            -Jewish Theological Seminary, 2004
            -Tougaloo College, 2004
            -University of Southern California, 2003
            -George Washington University, 2002
            -Washington University in St. Louis, 2002



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RUTH J. SIMMONS


SELECTED BOARDS/COMMITTEES

     Chair of the Board, Holdsworth Center, 2016–

     Board of Trustees, Museum of Fine Arts, Houston, 2017–

     Board of Directors, Square, Inc., 2015–

     Board of Trustees, Rice University, 2014–

     Board of Trustees, Princeton University, 2012–2016

     Board of Directors, Chrysler, LLC, 2012–2014

     Board of Directors, FCAU, 2014–

     Board of Directors, Mondelez International, 2012–2017

     Council of the Smithsonian National Museum of African American History and Culture,
     2010–

     President’s Commission on White House Fellowships
     2009–2014

     Board of Trustees, Howard University, 2007–2010

     Board of Trustees, Dillard University, 2012–2014

     Board of Directors, Alliance for Lupus Research, 2002–2004


     Board of Directors, The Goldman Sachs Group, 2000–2010

     Advisory Council, Bill & Melinda Gates Millennium Scholars Program,
     1999–2001

     Board of Directors, Texas Instruments, 1999–2016

     Board of Trustees, Carnegie Corporation of New York, 1999–2004

     Board of Directors, Pfizer Inc., 1997–2007

     Advisory Council, Center for African American Studies, Princeton University
     1996–




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RUTH J. SIMMONS


     Board of Directors, JSTOR, 1996–1999

     Board of Directors, Metropolitan Life Insurance Company, 1995–2001

     Board of Trustees, Institute for Advanced Study, 1995–1998

     Board of Trustees, Woodrow Wilson National Fellowship Foundation
     1991–1996

     Chair, Committee to Visit the Department of Afro-American Studies
     Harvard University
     1991–1999




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                         Expert Report of Dr. Ruth Simmons
                            List of Materials Considered

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   1995. Harvard University. [HARV00030365–HARV00030450].

2. Walton, Jonathan L. (November 2015). Report of the College Working Group on
   Diversity and Inclusion. Harvard University. [HARV00007944–HARV00007982].

3. Khurana, Rakesh. (2016). Report of the Committee to Study the Importance of Student
   Body Diversity. Harvard University. [HARV00008048–HARV00008069].

4. Charge. Harvard University Presidential Task Force on Inclusion and Belonging.
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   (September 19, 2017). Harvard University Presidential Task Force on Inclusion and
   Belonging. Retrieved from
   https://inclusionandbelongingtaskforce.harvard.edu/files/inclusion/files/discussion_draft_
   executive_summary_9.19.17.pdf.

6. Brief for Harvard University et al. as Amici Curiae, The Regents of the University of
   California v. Bakke, 98 S.Ct. 2733 (1978) (No. 76–811), 1976 WL 181278.

7. Brief for Harvard University et al. as Amici Curiae Supporting Respondents, Grutter v.
   Bollinger, 539 U.S. 306 (2003) (Nos. 02–241, 02–516), 2003 WL 399220.

8. Brief for Harvard University et al. as Amici Curiae Supporting Respondents, Fisher v.
   University of Texas at Austin, 133 S.Ct. 2411 (2013) (No. 11–345), 2012 WL 3527821
   [Fisher I].

9. Brief for Harvard University et al. as Amici Curiae Supporting Respondents, Fisher v.
   University of Texas at Austin, 136 S.Ct. 2198 (2016) (No. 14–981), 2015 WL 6690032
   [Fisher II].

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    Welcome Table. Harvard Magazine. Retrieved from
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    https://diversity.college.harvard.edu/about.

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    Retrieved from https://harvardfoundation.fas.harvard.edu/expansion.

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    double-segregation-for-more-students/orfield_epluribus_revised_omplete_2012.pdf.

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    diversity.html.

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    of color is a ‘business imperative.’ CNBC. Retrieved from:
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